         Case 1:16-cv-01534-JEB Document 384 Filed 12/19/18 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
YANKTON SIOUX TRIBE; ROBERT FLYING                   Case No. 1:16-cv-1534-JEB
HAWK; OGLALA SIOUX TRIBE,                            (and Consolidated Case Nos. 16-cv-1796
                                                     and 17-cv-267)
                     Plaintiffs,
                                                     UNOPPOSED MOTION TO AMEND
       and                                           PROTECTIVE ORDER

CHEYENNE RIVER SIOUX TRIBE,

                     Plaintiff-Intervenor,

       and

SARA JUMPING EAGLE, ET AL.,

                      Plaintiff-Intervenors,
       v.

U.S. ARMY CORPS OF ENGINEERS,

                     Defendant-Cross
                     Defendant,

       and

DAKOTA ACCESS, LLC,

                     Defendant-Intervenor-
                     Cross Claimant.




       On June 7, 2017, the Court entered a Protective Order governing the treatment of certain

confidential information that was being exchanged among the parties. ECF No. 235. On June

19, 2017, the Court ordered that proposed Plaintiff-Intervenors, Sara Jumping Eagle, Ladonna

Brave Bull Allard, Virgil Taken Alive, Cheyenne Garcia, William Wild Bill Left Hand, Maxine




                                               -1-
         Case 1:16-cv-01534-JEB Document 384 Filed 12/19/18 Page 2 of 4



Brings Him Back-Janis, Kathy Willcuts, Crystal Cole, Russell Vazquez, Thomas E. Barber, Sr.,

Tateolowan Garcia, Chani Phillips, and Wastewin Young (the Jumping Eagle Intervenors), be

permitted to intervene in the case, and their complaint in intervention was filed the same day.

ECF Nos. 246, 248; see also Minute Order dated June 19, 2017. As they were not permitted to

intervene prior to the entry of the protective order, the Jumping Eagle Intervenors were not

included in the protective order that was submitted by the Corps on June 6, 2017. See ECF No.

234. On October 6, 2017, Plaintiff Standing Rock Sioux Tribe moved to revise the protective

order, and the Court granted that motion by minute order the same day. See ECF No. 282 and

Minute Order dated October 6, 2017.

       The Parties are continuing to exchange information that includes confidential information

that is subject to the Protective Order, including the Corps’ recently completed remand analysis.

As a result, the Corps respectfully requests that the June 7, 2017 protective order be modified to

include the Jumping Eagle Intervenors. The proposed Second Revised Protective Order attached

as Exhibit A to this Motion is identical to the Revised Protective Order submitted by Standing

Rock in ECF No. 282, except that the signature date has been changed, footnote 1 has been

edited to reflect the fact that the referenced documents are attached to ECF No. 234-1, and the

Jumping Eagle Intervenors have been added to the caption and to the recitation of parties in the

first paragraph of the order. The Corps respectfully requests that the Court enter the attached

second amended protective order to clarify that the Jumping Eagle Intervenors are subject to the

protective order.



Dated: December 19, 2018                             Respectfully submitted,

                                                     JEAN E. WILLIAMS
                                                     Acting Assistant Attorney General




                                               -2-
Case 1:16-cv-01534-JEB Document 384 Filed 12/19/18 Page 3 of 4



                                   Environment & Natural Resources Division

                                   By: /s/ Brian Collins
                                   BRIAN COLLINS, TX Bar 24038827
                                   AMARVEER S. BRAR, CA Bar 309615
                                   REUBEN SCHIFMAN, NY BAR
                                   MATTHEW MARINELLI, IL Bar 6277967
                                   U.S. Department of Justice
                                   Natural Resources Section
                                   P.O. Box 7611
                                   Benjamin Franklin Station
                                   Washington, DC 20044
                                   Phone: (202) 305-0479 (Brar)
                                   Phone: (202) 305-4224 (Schifman)
                                   Phone: (202) 305-0293 (Marinelli)
                                   Phone: (202) 305-0428 (Collins)
                                   Fax: (202) 305-0506
                                   amarveer.brar@usdoj.gov
                                   reuben.schifman@usdoj.gov
                                   matthew.marinelli@usdoj.gov
                                   brian.m.collins@usdoj.gov

                                   ERICA M. ZILIOLI, D.C. Bar 488073
                                   U.S. Department of Justice
                                   Environmental Defense Section
                                   P.O. Box 7611
                                   Washington, DC 20044
                                   Phone: (202) 514-6390
                                   Fax: (202) 514-8865
                                   Erica.Zilioli@usdoj.gov

                                   Attorneys for the United States Army Corps
                                   of Engineers

                                   OF COUNSEL:

                                   MILTON BOYD
                                   MELANIE CASNER
                                   U.S. Army Corps of Engineers
                                   Office of Chief Counsel
                                   Washington, DC




                             -3-
         Case 1:16-cv-01534-JEB Document 384 Filed 12/19/18 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2018, I electronically filed the foregoing

Unopposed Motion to Amend Protective Order with the Clerk of the Court using the CM/ECF

system, which will send notification of this filing to the attorneys of record and all registered

participants.



                                               /s/ Brian Collins
                                               Brian Collins




                                                -4-
           Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 1 of 7



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE, YANKTON
SIOUX TRIBE; ROBERT FLYING HAWK;                    Case No. 1:16-cv-1534-JEB
OGLALA SIOUX TRIBE,                                 (and Consolidated Case Nos. 16-cv-1796
                                                    and 17-cv-267)
                     Plaintiffs,

      and

CHEYENNE RIVER SIOUX TRIBE,

                     Plaintiff-Intervenor,

      and

SARA JUMPING EAGLE, ET AL.,

                     Plaintiff-Intervenors,
      v.

U.S. ARMY CORPS OF ENGINEERS,

                     Defendant-Cross Defendant,

      and

DAKOTA ACCESS, LLC,

                     Defendant-Intervenor-Cross
                     Claimant.


                               SECOND REVISED PROTECTIVE ORDER

       The Parties in the above-captioned consolidated litigation (the “Litigation”) are Plaintiffs,

the Standing Rock Sioux Tribe, the Yankton Sioux Tribe, Robert Flying Hawk, and the Oglala

Sioux Tribe; Intervenor Plaintiff, Cheyenne River Sioux Tribe; Intervenor-Plaintiffs, Sara

Jumping Eagle, Ladonna Brave Bull Allard, Virgil Taken Alive, Cheyenne Garcia, William Wild

Bill Left Hand, Maxine Brings Him Back-Janis, Kathy Willcuts, Crystal Cole, Russell Vazquez,

Thomas E. Barber, Sr., Tateolowan Garcia, Chani Phillips, and Wastewin Young (the Jumping

Eagle Intervenors); Defendants, the U.S. Army Corps
        Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 2 of 7



of Engineers (“Corps”), the United States Fish and Wildlife Service, Todd Semonite, John

Henderson, Anthony Mitchell, and Dan Ashe; and Intervenor Defendant, Dakota Access LLC

(“Dakota Access”). The Defendants, the Plaintiffs, and the Intervenors, are each, individually, a

“Party.” Collectively, they are the “Parties.” (All individual Defendants are sued in their official

capacities.) On November 10, 2016, the Corps filed in the Litigation a certified index of the

Administrative Record (ECF No. 55-2). The Administrative Record contains five (5)

documents, portions of which should be treated as confidential (the “Protected Information”).1

Counsel for all Parties currently have access to the Protected Information.

       It is hereby ORDERED, pursuant to the Memorandum Opinion of this Court entered on

April 7, 2017, and Rule 26(c) of the Federal Rules of Civil Procedure, that this Protective Order

shall govern the handling of all Protected Information.

                                  TERMS AND CONDITIONS

       1.      This Protective Order shall govern the use of all Protected Information in the

Litigation. This Protective Order is binding upon the Parties; their respective corporate,

organizational, and governmental parents, subsidiaries and affiliates, including all other Federal

agencies; and their respective attorneys, agents, representatives, officers, members and employees.

      2.       All Protected Information in the Litigation may be used only by parties to the

Litigation to: a) evaluate, prosecute or defend a claim in this Litigation; and/or b); prepare

comments to the Corps falling within the scope of the court-ordered remand, and for no other

purpose.



 1
     The five (5) documents containing the Protected Information are found at the following
pages of the Administrative Record: 12398–418; 12419–39; 12440–61; 74092–110; 74713–29.
The Protected Information appears as redactions in the versions of those five documents
attached to proposed order filed at ECF No. 234-1.


                                                  2
        Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 3 of 7



       3.      Each Party shall maintain the Protected Information in a manner sufficient to

protect such material against unauthorized disclosure.

       4.      Protected Information may be disclosed by a Party only (a) to attorneys for the

Parties, and persons regularly employed in such attorneys’ offices, (b) to the Court and any

members of its staff assisting the Court in this Litigation; and (c) to other Qualified Persons as

defined in paragraph six (6) below.

       5.      With the exception of attorneys for the Parties, persons regularly employed in such

attorneys’ offices, and the Court and any members of its staff assisting the Court in this Litigation,

any Qualified Persons to whom Protected Information is to be disclosed shall be provided with a

copy of this Protective Order, which he or she shall read, or shall otherwise be informed of the

status of the Protected Information and the limitations on its use, and such persons shall sign an

acknowledgment of their understanding of these limitations in the form attached as Exhibit A. A

file of all such acknowledgements shall be maintained by counsel of record of the Party securing

the acknowledgement and, upon request, such file shall be made available to any other Party or

the Court.

      6.       “Qualified Persons,” as used herein, are limited to: (a) those persons directly

employed by, or affiliated with, a Party who need to view the Protected Information in order to

make a material contribution to that Party’s likelihood of success in this Litigation and/or to that

Party’s submissions to the Corps falling within the scope of the Court-ordered remand; (b) those

experts or consultants hired by a Party who need to view the Protected Information for the same

purpose, provided, however, that any documents created by such third-parties that rely on or

incorporate the Protected Information in whole or in part shall be maintained as Protected

Information by those third-parties and by the Party responsible for the Protected Information’s




                                                  3
         Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 4 of 7



creation in accordance with the provisions of this Protective Order; and (c) other persons

designated as a “Qualified Person” by future written agreement of the Parties or by order of the

Court. No person who is the subject of a criminal charge arising out of the Dakota Access Pipeline

Project, and no person who has been the subject of such a charge (unless the disposition of that

charge was an acquittal), is eligible to be a Qualified Person.

         7.      Except as agreed in writing by counsel of record, and to the extent that any

Protected Information is, in whole or in part, contained in, incorporated in, disclosed in, or attached

to any pleading, motion, memorandum, appendix, or other judicial filing, the Parties shall file

under seal that portion of the submission containing the Protected Information and that portion

filed under seal shall be designated and treated as a “Sealed Document.” The remainder of any

such pleading, motion, memorandum, appendix, or other judicial filing shall be publicly filed with

the Court with appropriate redactions. All Sealed Documents, filed under seal pursuant to this

Protective Order, shall be filed in a sealed envelope and shall remain under seal until such time as

this Court orders otherwise. Such Sealed Documents shall be identified with the caption of this

action, contain a general description of the sealed contents, and bear the following legend (or one

substantially similar to it) which also must appear on the sealed envelope:

                                       CONFIDENTIAL
               Contents hereof are confidential and are subject to a court-ordered
              protective order governing the use and dissemination of such contents.

         The Clerk of the Court shall maintain such Sealed Documents separate from the public

records in this action, intact and unopened except as otherwise directed by the Court. Such

Sealed Documents shall be released by the Clerk of the Court only upon further order of the

Court. Filings containing Protected Information shall be served upon counsel for the Parties by

email.




                                                  4
         Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 5 of 7



         8.    In the event that it is known reasonably in advance of oral argument or any other

public hearing that Protected Information may be disclosed, counsel shall so advise the Court and

counsel for the other Parties. If such information is expected to be referenced or discussed, the

Court may consider measures to ensure the preservation of its confidentiality.

         9.    Except as agreed in writing by counsel of record, and to the extent that any

Protected Information is, in whole or in part, contained in, incorporated in, disclosed in, or attached

to any communication with the Corps during the proceedings on the Court-ordered remand, such

communication shall be submitted to the Corps in a manner that preserves its confidentiality and

is clearly and prominently labeled:

                                        CONFIDENTIAL
                Contents hereof are confidential and are subject to a court-ordered
               protective order governing the use and dissemination of such contents.

         10.   Nothing contained in this Protective Order shall restrict counsel for any Party from

rendering advice to its clients with respect to the Litigation and, in the course thereof, relying upon

Protected Information, provided that in rendering such advice, counsel shall not disclose any

Protected Information other than in a manner provided for in this Protective Order.

         11.   Nothing contained in this Protective Order shall preclude any Party from using its

own Protected Information in any manner it sees fit, without the prior consent of any Party or the

Court.

         12.   Any Party, other than the Corps and Fish and Wildlife Service, that receives a

subpoena or other legal process that may require the disclosure of Protected Information, or is

otherwise subject to any other legal obligation to disclose Protected Information, shall promptly

notify the other Parties of such request, subpoena, or other obligation. Unless a shorter time is

mandated by a court order, and to the extent permitted by law, the Party receiving such a request




                                                  5
        Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 6 of 7



shall not produce any Protected Information for at least ten (10) days after notice of the request,

subpoena, or other obligation is provided in writing to the other Parties in order to provide the

other Parties a reasonable period of time in which to seek to quash, limit, or object to the request,

subpoena, or other obligation before the date designated for production. If the Party to which the

request, subpoena, or other obligation is directed or compelled by applicable law or a court order

to respond to the request, subpoena, or other obligation in less than ten (10) days, that Party shall,

to the extent permitted by law, notify the other Parties of this fact. In the event that Protected

Information under this Protective Order is produced in response to a request, subpoena, or other

obligation, the producing Party shall take reasonable steps to ensure that the protections afforded

under this Protective Order shall continue to apply to such Protected Information. Nothing herein

shall be construed as requiring the Parties or anyone else covered by this Protective Order to seek

a court order to avoid production, to appeal any order requiring production of Protected

Information, to subject itself to any penalties for non-compliance with any such request or order,

or to seek any relief from the Court.

       13.     By written agreement of the Parties, or upon motion and order of the Court, the

Court may amend, modify, or vacate terms of this Protective Order. This Protective Order shall

continue in full force and effect until amended or superseded by express order of the Court, and

shall survive any final judgment or settlement in this action.



                                        SO ORDERED this           day of December, 2018


                                                      The Honorable James E. Boasberg
                                                      United States District Judge




                                                  6
        Case 1:16-cv-01534-JEB Document 384-1 Filed 12/19/18 Page 7 of 7



                                           EXHIBIT A

       DECLARATION OF

       I reside at                                 in the City of                     , county of

                     . My present employer is                                    . My present

occupation is                                  .

       I understand that I will have access to and be examining documents that are confidential.

I have read and understand the Protective Order covering these documents and pledge to comply

with the provisions of that Protective Order. Furthermore, I certify that I am eligible to have

access to the Protected Information under Paragraph (6) of the Protective Order.

       I will hold all Protected Information and any duplicates, notes, abstracts, or summaries

thereof in confidence, will not disclose such information to anyone not specifically entitled to

access under the Protective Order, and will use the information solely for purposes of this

Litigation, except as provided by the Protective Order. At the conclusion of this Litigation, I will

return all originals of all Protected Information and any duplicates, notes, abstracts, or summaries

thereof in my possession, whether prepared by me or anyone else, to counsel for the party by

whom I am employed or retained.



       Signed:                                                  Date:
